                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

JOHNNY M. HUNT,                                       )
                                                      )
     Plaintiff,                                       )
                                                      )         NO. 3:23-cv-00243
v.                                                    )
                                                      )         JUDGE CAMPBELL
SOUTHERN BAPTIST CONVENTION, et                       )         MAGISTRATE JUDGE FRENSLEY
al.,                                                  )
                                                      )
     Defendants.                                      )


                                                 ORDER

         Pending before the Court are Defendants’ motions for summary judgment (Doc. Nos. 216, 222,

229), which are fully briefed. For the reasons stated in the forthcoming Memorandum, the motions for

summary judgment are GRANTED IN PART as follows: Guidepost’s motion is GRANTED as to all

claims. The motions by the Southern Baptist Convention (“SBC”) and the Executive Committee of the

Southern Baptist Convention (“Executive Committee”) are GRANTED as to the claims for false light

(Count III), public disclosure of embarrassing private facts (Count VI), negligent and intentional infliction

of emotional distress (Counts IV and V), and the defamation claim (Count I) arising out of the Report and

the Letter. SBC and the Executive Committee’s motion are DENIED as to the defamation claim (Count I)

based on the Tweet.

         It is so ORDERED.



                                                  ______________________________________
                                                  WILLIAM L. CAMPBELL, JR.
                                                  CHIEF UNITED STATES DISTRICT JUDGE




Case 3:23-cv-00243           Document 316          Filed 03/31/25       Page 1 of 1 PageID #: 13062
